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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

  ROBERT ETHAN MILLER,

                Plaintiff,

         v.                                              Case No. 3:15-cv-00533-JPG-DGW

  J. S. WALTON, et al.,

                Defendants.

                                MEMORANDUM AND ORDER

  J. PHIL GILBERT, DISTRICT JUDGE

         The Court dismissed this prisoner case over a year ago because plaintiff Robert Ethan

  Miller failed to exhaust his administrative remedies. In June 2018, Miller filed a motion to re-

  open his case pursuant to Federal Rule of Civil Procedure 60(b), and the Court denied that

  motion. (ECF Nos. 229, 232.) Since then, Miller has filed two motions for injunctive relief (ECF

  No. 234, 237), a motion for the Court to reconsider its order denying Miller’s motion to reopen

  his case (ECF No. 235), a “notice of canon violations and abuses” (ECF No. 236), and a sealed

  document regarding the prior motion to reopen this case (ECF No. 233). As the Court explained

  in its last order, this barrage appears to be an effort by Miller to circumvent the three-strikes

  provision of the Prison Litigation Reform Act—under which Miller has struck out—and coerce

  his transfer out of the Communications Management Unit at U.S. Penitentiary Marion.

         It is well settled that Rule 60(b) relief is an extraordinary remedy and is granted only in

  exceptional circumstances. McCormick v. City of Chicago, 230 F.3d 319, 327 (7th Cir. 2000)

  (citing Dickerson v. Board of Educ., 32 F.3d 1114, 1116 (7th Cir. 1994)). Under Rule 60(b), a

  court may relieve a party from an order where there is “mistake, inadvertence, surprise, or

  excusable neglect,” “newly discovered evidence that, with reasonable diligence could not have


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  been discovered in time to move for a new trial,” or “fraud (whether previously called intrinsic

  or extrinsic), misrepresentation, or misconduct by an opposing party.” FED. R. CIV. P. 60(b).

  “Motions for reconsideration serve a limited function: to correct manifest errors of law or fact or to

  present newly discovered evidence.” Rothwell Cotton Co. v. Rosenthal & Co., 827 F.2d 246, 251 (7th

  Cir. 1987).

          As the Court already explained in its last order denying Miller’s motion to re-open this

  case/reconsider its prior judgment pursuant to Rule 60(b), “Miller has presented no evidence that

  would lead a court to reconsider its decision under [that rule].” (ECF No. 232, p. 2.) Miller’s filings

  have become frivolous: the Court closed this case over a year ago for Miller’s failure to exhaust his

  administrative remedies, yet Miller continues to file papers in this case that are, at times, incoherent.

  Accordingly, the Court DENIES all pending motions in this case (ECF Nos. 234, 235, and 237) and

  WARNS Miller that any more frivolous filings here may result in sanctions.

   IT IS SO ORDERED.

  DATED: SEPTEMBER 14, 2018

                                                          s/ J. Phil Gilbert
                                                          J. PHIL GILBERT
                                                          DISTRICT JUDGE




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